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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

Civil Action No. 1:24-cv-00603-MEH
SHANE SCOFIELD, individually and on behalf of all others similarly situated,

         Plaintiff,

v.

LGG OPERATIONS, LLC
        Defendant.

               UNOPPOSED MOTION TO SUBSTITUTE PARTY NAME



             Plaintiff Shane Scofield by his undersigned counsel, files this unopposed motion to

substitute “Greeley Fitness LLC” for the currently named “LGG Operations LLC”. According to

counsel for the Defendant, it is Greeley Fitness LLC that is the appropriate party for this case.

             RESPECTFULLY SUBMITTED AND DATED this 1st day of May, 2024.

                                               By: /s/ Anthony I. Paronich

                                                   Anthony I. Paronich
                                                   anthony@paronichlaw.com
                                                   PARONICH LAW, P.C.
                                                   350 Lincoln Street, Suite 2400
                                                   Hingham, Massachusetts 02043
                                                   Telephone: (617) 738-7080
                                                   Facsimile: (617) 830-0327

                                                   Attorneys for Plaintiff and the Proposed Class




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